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UNITED STATES DISTRICT COURT

' FOR THE CENTRAL DISTRICT OF CALIFORNIA

September 2012 Grand SA&CR 1 ? = 0 ? 7 7

UNITED STATES OF AMERICA, SA CR No. 12-

)
)
Plaintiff, ) INDICTMENT
)
Vv. ) {18 U.S.C. § 1832(a) (1):
) Theft of Trade Secrets;
WENFENG LU, ) 18 U.S.C. § 1832(a) (3):
) Unauthorized Possession
Defendant. ) of Trade Secrets]
)
)

 

The Grand Jury charges:
INTRODUCTION

1. From on or about November 1, 2011 through on or about
November 16, 2012, in Orange County, within the Central District
of California, defendant WENFENG LU (“LU”) worked for Edwards
Lifesciences Corporation (“Edwards”) as a Research and
Development Staff Engineer.

2. At all times relevant to this indictment, Edwards
designed and manufactured heart valves and hemodynamic
monitoring devices and maintained a headquarters in Orange

County, within the Central District of California.

 

 

 
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3.

COUNTS ONE THROUGH FOUR

[18 U.S.C.

Paragraphs 1 and 2 are re-alleged and incorporated by

§ 1832 (a) (1)]

reference as though set forth in full.

4.
November 16,

of California,

From on or about November 1, 2011 through on or about

2012,

in Orange County,

defendant WENFENG LU

(“LU”), with the intent to

convert a trade secret that was related to and included ina

product that was produced for and placed in interstate and

foreign commerce,
Edwards,

Edwards, knowingly stole and appropriated without authorization

to the economic benefit of someone other than

and knowing and intending that the offense would injure

the following trade secrets, specifically, the computer files

owned by Edwards listed below: —

 

 

 

 

 

 

THREE

 

 

Centera Assembly
Procedure Valve to

Deliver system Attachment

 

COUNT | FILE NAME DESCRIPTION
ONE 924 giunang Trouble SOP3988 - Balloon Molding
shooting Process Trouble Shooting
Reference Matrix
TWO 923 MP qiunan chengxing SOP5652 — EDWARDS INTUITY
Generation II Balloon
Molding Process
1219 SOP6521.100-THV SOP6251.100 THV Assembly

Procedure: Valve to

Delivery System Attachment

 

within the Central District

 

 
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COUNT

FILE NAME

DESCRIPTION

 

 

FOUR

 

1217 _SOP6091 x1-jl

SOP6091 - DV Test Procedure
for Maverick 3 Delivery

system

 

 

 

 

 

 
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COUNTS FIVE THROUGH EIGHT
[18 U.S.C. § 1832(a) (3)]

5. Paragraphs 1 and 2 are re-alleged and incorporated by
reference as though set forth in full.

6. On or about November 16, 2012, in Los Angeles County,
within the Central District of California, and elsewhere,
defendant WENFENG LU (“LU”), with the intent to convert a trade
secret that was related to and included in a product that was
produced for and placed in interstate and foreign commerce, to
the economic benefit of someone other than Edwards, and knowing
and intending that the offense would injure Edwards, knowingly
possessed the following trade secrets, specifically, the
computer files owned by Edwards listed below, knowing that the

trade secrets had been stolen, obtained, and converted without

 

 

 

 

authorization:
COUNT FILE NAME DESCRIPTION
FIVE $24 qiunang Trouble SOP3988 ~- Balloon Molding
shooting Process Trouble Shooting
Reference Matrix
SIX 923 MP_qiunan chengxing SOP5652 -— EDWARDS INTUITY
Generation II Balloon Molding
Process
SEVEN 1219 SOP6521.100-THV SOP6251.100 THV Assembly
Centera Assembly Procedure: Valve to Delivery
Procedure Valve to System Attachment
Deliver system Attachment

 

 

 

 

 

 

 

 
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COUNT FILE NAME

DESCRIPTION

 

 

BIGHT

 

1217 SOP6091 xl-

jl SOP6091 - DV Test Procedure
for Maverick 3 Delivery

system

 

 

 

 

ANDRE BIROTTE UR.

“sd Attormey,

ROBERT E. DUGDALE
Assistant United States
Chief,

DENNISE D. WILLETT
Assistant United States
Chief, Santa Ana Branch

TERRI K. FLYNN-PEISTER
Assistant United States
Deputy Chief, Santa Ana

GREGORY STAPLES
Assistant United States

MARK P. TAKLA
Assistant United States

A TRUE BILL

 

 

Foreperson

Attorney

Criminal Division

Attorney
Office

Attorney
Branch Office

Attorney

Attorney

 
